                                                                                                                            Case 3:19-cv-03098-LB Document 79 Filed 08/27/21 Page 1 of 2



                                                                                                                    1    NOAH G. BLECHMAN (State Bar No. 197167)
                                                                                                                         noah.blechman@mcnamaralaw.com
                                                                                                                    2    MCNAMARA, NEY, BEATTY, SLATTERY,
                                                                                                                         BORGES & AMBACHER LLP
                                                                                                                    3    3480 Buskirk Avenue, Suite 250
                                                                                                                         Pleasant Hill, CA 94523
                                                                                                                    4    Telephone: (925) 939-5330
                                                                                                                         Facsimile: (925) 939-0203
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                                                                                                                         Attorneys for Defendants
                                                                                                                    6    COUNTY OF ALAMEDA; JEFFREY EDWARDS
                                                                                                                    7

                                                                                                                    8                                 UNITED STATES DISTRICT COURT
McNAMARA, NEY, BEATTY, SLATTERY, BORGES & AMBACHER LLP




                                                                                                                    9                                NORTHERN DISTRICT OF CALIFORNIA
                                                         3480 BUSKIRK AVENUE, SUITE 250, PLEASANT HILL, CA 94523




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                                                                                                                         ABRAAM SWEIHA,                                     Case No. C19-03098 LB
                                                                                                                   12
                                                                        TELEPHONE: (925) 939-5330




                                                                                                                                        Plaintiff,                          STIPULATION AND [PROPOSED]
                                                                           ATTORNEYS AT LAW




                                                                                                                   13                                                       ORDER DISMISSING ENTIRE ACTION,
                                                                                                                                vs.                                         WITH PREJUDICE
                                                                                                                   14
                                                                                                                         COUNTY OF ALAMEDA, a municipal
                                                                                                                   15    corporation; JEFFREY EDWARDS in his
                                                                                                                         individual and official capacity as a deputy
                                                                                                                   16    for the ALAMEDA Sheriff's Department;
                                                                                                                         RUSSEL ARMSTRONG in his individual
                                                                                                                   17    and official capacity as a deputy for the
                                                                                                                         ALAMEDA Sheriff's Department;
                                                                                                                   18    ROBERT GARRIGAN in his individual
                                                                                                                         and official capacity as a deputy for the
                                                                                                                   19    ALAMEDA Sheriff's Department;
                                                                                                                         PAYAM SHANNON in his individual and
                                                                                                                   20    official capacity as a deputy for the
                                                                                                                         ALAMEDA Sheriff's Department; ERICH
                                                                                                                   21    MARAPAO in his individual and official
                                                                                                                         capacity as a deputy for the ALAMEDA
                                                                                                                   22    Sheriff's Department; and DOES 1-50,
                                                                                                                         inclusive,
                                                                                                                   23
                                                                                                                                        Defendants.
                                                                                                                   24

                                                                                                                   25          The relevant parties, by and through their respective attorneys of record, hereby stipulate

                                                                                                                   26   and jointly request an Order from the Court to a dismissal of the Plaintiff’s Second Amended

                                                                                                                   27   Complaint, the entire action, against all Defendants, with prejudice. Each party agrees to bear its

                                                                                                                   28   own fees and costs as to this dismissal.
                                                                                                                         STIPULATION AND [PROPOSED] ORDER
                                                                                                                         DISMISSING ENTIRE ACTION, WITH
                                                                                                                         PREJUDICE – C19-03098 LB
                                                                                                                            Case 3:19-cv-03098-LB Document 79 Filed 08/27/21 Page 2 of 2



                                                                                                                    1          The parties attest that concurrence in the filing of these documents has been obtained from
                                                                                                                    2   each of the other Signatories, which shall serve in lieu of their signatures on the document.
                                                                                                                    3

                                                                                                                    4          IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
                                                                                                                    5
                                                                                                                        Dated: August 27, 2021                        POINTER & BUELNA, LLP
                                                                                                                    6

                                                                                                                    7                                                 //s/ Patrick Buelna _______________
                                                                                                                                                                      PATRICK M. BUELNA
                                                                                                                    8                                                 COUNSEL FOR PLAINTIFF
McNAMARA, NEY, BEATTY, SLATTERY, BORGES & AMBACHER LLP




                                                                                                                    9   Dated: August 27, 2021                 MCNAMARA, NEY, BEATTY, SLATTERY,
                                                         3480 BUSKIRK AVENUE, SUITE 250, PLEASANT HILL, CA 94523




                                                                                                                                                               BORGES & AMBACHER LLP
                                                                                                                   10

                                                                                                                   11
                                                                                                                                                               By:      /s/ Blechman, Noah G.
                                                                                                                   12                                                Noah G. Blechman
                                                                        TELEPHONE: (925) 939-5330




                                                                                                                                                                     Randolph S. Hom
                                                                           ATTORNEYS AT LAW




                                                                                                                   13                                                Attorneys for Defendants
                                                                                                                                                                     COUNTY OF ALAMEDA; JEFFREY EDWARDS
                                                                                                                   14

                                                                                                                   15                                                 ORDER
                                                                                                                   16   PURSUANT TO STIPULATION AND REQUEST, IT IS ORDERED AS FOLLOWS:
                                                                                                                   17          The Court hereby dismisses this entire action, with prejudice, as to all claims alleged by
                                                                                                                   18   Plaintiff. Each party to bear its own fees and costs as to this dismissal. All further dates and
                                                                                                                   19   deadline set in this matter are vacated.
                                                                                                                   20          IT IS SO ORDERED
                                                                                                                   21
                                                                                                                        DATED:___________________
                                                                                                                                 August 27, 2021                      By:______________________________
                                                                                                                   22
                                                                                                                                                                            Hon. Laurel Beeler
                                                                                                                   23                                                       Magistrate Judge

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                                                                                                                         STIPULATION AND [PROPOSED] ORDER                 2
                                                                                                                         DISMISSING ENTIRE ACTION, WITH
                                                                                                                         PREJUDICE – C19-03098 LB
